                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
               v.                                    )      CASE NO. DNCW3:07CR119-01
                                                     )      (Financial Litigation Unit)
JAIME LIGATOR                                        )
     a/k/a Jamie Ligator.                            )

                                      WRIT OF EXECUTION

TO THE UNITED STATES MARSHAL
and TD AMERITRADE, A DIVISION OF TD AMERITRADE INC.:

       A judgment was entered on October 1, 2009 in the United States District Court for the

Western District of North Carolina in favor of the United States of America and against the

defendant, Jaime Ligator, a/k/a Jamie Ligator, whose last known addresses are ************

Miami Beach, Florida 33139, and *********** Miami, Florida 33102, in the sum of $4,291,573.00.

The balance on the account as of March 1, 2012 is $4,290,575.75.

       THEREFORE, YOU ARE HEREBY COMMANDED to levy and/or execute on property

and TD Ameritrade, a division of TD Ameritrade Inc., is commanded to turn over property in

which the defendant, Jaime Ligator, a/k/a Jamie Ligator, has a substantial nonexempt interest, said

property being all funds held by TD Ameritrade, a division of TD Ameritrade Inc., in an investment

account ending in number 9660 held in the name of Jamie Ligator at the following address: TD

Ameritrade, a division of TD Ameritrade Inc., c/o its registered agent, Corporation Service

Company, 327 Hillsborough Street, Raleigh, North Carolina 27603.

                                                Signed: March 1, 2012




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